                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


 UNITED STATES OF AMERICA,                              )
                                                        )
                        Plaintiff,                      )
                                                        )
                                                        )     No. 3:05-CR-124
 V.                                                     )    (JORDAN/GUYTON)
                                                        )
 MARCUS WALLACE SIMS, JR.,                              )
                                                        )
                        Defendant.                      )


                              REPORT AND RECOMMENDATION

                The defendant’s attorney, Charles I. Poole (“Poole”) has submitted to the Court a

 compensation claim in excess of the statutory case compensation maximum. Poole was appointed

 [Doc. 19] pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A, to represent Marcus Wallace

 Sims, Jr., one of seven defendants in a seventeen count Indictment, and then Superseding

 Indictment, charging, inter alia, conspiracy to engage in drug trafficking. [Docs. 5, 84]. Poole has

 requested a waiver of the case compensation maximum limit of $7,000 per felony case for each

 defendant. Poole seeks $10,828.40.

                Poole asserts that he participated in a considerable amount of discovery review and

 pretrial activity. Poole also emphasizes that this a major drug case, that the defendant was detained,

 that he made seven (7) court appearances, that he met with the F.B.I., that he negotiated a plea

 agreement, that his client renounced the plea agreement at the change of plea hearing before the

 District Judge, that his client feared for his life if he cooperated with the government through a plea

 agreement; that a new, non-cooperation plea agreement was negotiated and finally filed; that his

 client objected to the presentence report; and that there was a litigated issue of criminal history and



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 guideline range, which the district court resolved in favor of his client.

                Payment in excess of the $7,000 limit may be allowed if the court certifies that the

 amount of the excess payment is necessary to provide fair compensation and the payment is

 approved by the chief judge of the circuit. 18 U.S.C. § 3006A(d)(3). The following regulation is

 pertinent to the question of whether or not the $7,000 maximum on compensation should be waived:

                Payments in excess of CJA compensation maximums may be made
                to provide fair compensation in cases involving extended or complex
                representation when so certified by the court or magistrate and
                approved by the chief judge of the circuit (or by an active circuit
                judge to whom excess compensation approval authority has been
                delegated).

                In determining if an excess payment is warranted, the court or
                magistrate and the chief judge of the circuit (or an active circuit judge
                to whom excess compensation approval authority has been delegated)
                should make a threshold determination as to whether the case is
                either extended or complex. If the legal or factual issues in a case are
                unusual, thus requiring the expenditure of more time, skill and effort
                by the lawyer than would normally be required in an average case,
                the case is “complex.” If more time is reasonably required for total
                processing than the average case, including pre-trial and post-trial
                hearings, the case is “extended.”

                After establishing that a case is extended or complex, the approving
                judicial officer should determine if excess payment is necessary to
                provide fair compensation. The following criteria, among others,
                may be useful in this regard: responsibilities involved measured by
                the magnitude and importance of the case; manner in which duties
                were performed; knowledge, skill, efficiency, professionalism, and
                judgment required of and used by counsel; nature of counsel’s
                practice and injury thereto; any extraordinary pressure of time or
                other factors under which services were rendered; and any other
                circumstances relevant and material to a determination of a fair and
                reasonable fee.

 Appointment of Counsel in Criminal Cases, Volume VII, Guide to Judiciary Policies and

 Procedure, Chapter II, Part C, § 2.22(b)(3) (hereinafter Guide to Judiciary Policies and

 Procedures). Case compensation limits apply only to attorney fees. There is no limit on the




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 presiding judge’s authority to reimburse expenses of counsel except as to compensation for

 investigators and other experts. 18 U.S.C. § 3006A(e); Guide to Judiciary Policies and Procedures,

 Ch. II, § 2.22B(1)(i).

                The Court finds that this case is “extended” because the case involved extensive

 review of discovery, as the government’s evidence consisted of numerous C.D.s and audiotapes of

 alleged criminal activity. The Court also finds that the case is extended due to the necessity of

 negotiating two plea agreements and conducting seven (7) court hearings. Based on the entire

 record, and counsel’s submissions in support of his fee request, the Court finds that the case is

 “extended,” as it has required more time for total processing than usual for the average case.

                For the reasons indicated, it is RECOMMENDED that the district judge sign and

 forward the attached “Memorandum and Order Concerning Excess and Interim Payments” to the

 Chief Judge of the Circuit or his designee. This procedure is approved in Chapter II and Appendix

 E to the Guide to Judiciary Policies and Procedures.

                If the Chief Judge or his designee approves the request, the regulations provide that

 the court should then take the following steps:

                (1) The Memorandum And Order concerning excess and interim
                payments should be filed with the clerk; and

                (2) A copy of that document should be sent to the Criminal Justice
                Act Claims Section, Financial Management Division, Administrative
                Office, United States Courts.

 Appendix E, Guide to Judiciary Policies and Procedures.




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                For the reasons indicated, it is RECOMMENDED that the request by Charles I.

 Poole for compensation in excess of the statutory case compensation maximum be GRANTED

 pursuant to the procedures in the Guide to Judiciary Policies and Procedures and as set out above.1

                IT IS SO ORDERED.

                                               ENTER:


                                                     s/ H. Bruce Guyton
                                               United States Magistrate Judge




        1
           Any objections to this report and recommendation must be served and filed within ten (10)
 days after service of a copy of this recommended disposition on the objecting party. Fed. R. Crim.
 P. 59(b)(2). Failure to file objections within the time specified waives the right to review by the
 District Court. Fed. R. Crim. P. 59(b)(2); see also Thomas v. Arn, 474 U.S. 140 (1985) (providing
 that failure to file objections in compliance with the ten-day time period waives the right to appeal
 the District Court’s order). The District Court need not provide de novo review where objections
 to this report and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806 F.2d
 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate review. Smith v.
 Detroit Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).


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